
WRIT GRANTED AND MADE PEREMPTORY:
La.R.S. 14:98 does not prohibit the use of an out of state conviction to enhance the penalty against a defendant for operating a vehicle while intoxicated. However, the use of an out of state conviction for enhancement purposes that does not comply with the statutory provisions of La.R.S. 14:98 may not be used. We thus find that the trial court must determine if the statutory provisions of the Texas DWI statute are substantially in conformance with the Louisiana DWI statute.
Accordingly, the trial court’s order granting the defendant’s motion to quash is vacated, reversed and set aside and the case is remanded to the trial court for proceedings consistent with the views herein expressed.
